Case: 1:20-cv-07807 Document #: 23 Filed: 06/09/21 Page 1 of 1 PagelD #:295

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

 

 

EASTERN DIVISION
MARCIE MARIE WEBBER,
Plaintiff, Case No. 1:20-cv-07807
v. Hon. Charles R. Norgle
STATE OF ILLINOIS, et al.,
Defendants.
ORDER

Plaintiff's appointed counsel has informed the Court that a status report was submitted by email to
the Court’s courtroom deputy on May 26, 2021. The Clerk is instructed to file that communication
on the docket of this case. Counsel is admonished that all future status reports and any other activity
in this case shall be filed on the docket. The scope of the Court’s order appointing counsel was to
represent Plaintiff in this case. Based on the Court’s review of counsel’s status report, counsel has
perhaps commendably endeavored to assist Plaintiff in her litigation in Illinois state court but
provides no update relevant to the status of this case. The Court notes that Plaintiff's pro se
complaint, which ostensibly asserts claims under 42 U.S.C. §§ 1983, 1985, and 1986 on the Court’s
form complaint made available to pro se litigants, appears to challenge the results of her state court
litigation, raising the possibility that this case is precluded by the Rooker-Feldman doctrine, under
which lower federal courts lack jurisdiction over claims seeking review of state court judgments.
Swartz v. Heartland Equine Rescue, 940 F.3d 387, 390 (7th Cir. 2019). Plaintiff, through counsel,
is granted leave to file a motion for leave to amend Plaintiff's pro se complaint in this case by June
29, 2021. The Court’s prior order, Dkt. 22, requiring counsel to file a written status report as to the
status of this case by June 29, 2021 stands.

IT IS SO ORDERED.

CHARLES RONALD NORGLE, Jyfge
United States District Court
DATE: June 9, 2021
